                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:24-CV-779-FDW-DCK

MOUNTAIN ISLAND DAY COMMUNITY                       )
CHARTER SCHOOL, et al.,                             )
                                                    )                   ORDER
     Plaintiffs/Counterclaim Defendants,            )
                                                    )
      v.                                            )
                                                    )
INSPIRE PERFORMING ARTS COMPANY,                    )
LLC, ET AL.,                                        )
                                                    )
   Defendants/Counterclaim Plaintiffs/Third-        )
   Party Plaintiffs,                                )
                                                    )
      v.                                            )
                                                    )
JACKSON DAY SCHOOL BOARD OF                         )
DIRECTORS, et al.,                                  )
                                                    )
   Third-Party Defendants.                          )
                                                    )

       THIS MATTER IS BEFORE THE COURT on “Defendants May And Lewis’s Partial

Motion To Dismiss...” (Document No. 27) filed October 28, 2024. This motion has been referred

to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is

appropriate. Having carefully considered the motion, the record, and applicable authority, the

undersigned will direct that the pending motion to dismiss be denied as moot.

       Plaintiff filed a “First Amended Complaint” (Document No. 39) on November 12, 2024,

which supersedes the original Complaint (Document No. 1). Therefore, the undersigned will direct

that “Defendants May And Lewis’s Partial Motion To Dismiss...” (Document No. 27) be denied

as moot.




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       It is well settled that a timely-filed amended pleading supersedes the original pleading, and

that motions directed at superseded pleadings may be denied as moot. Young v. City of Mount

Ranier, 238 F.3d 567, 573 (4th Cir. 2001) (“The general rule ... is that an amended pleading

supersedes the original pleading, rendering the original pleading of no effect.”); see also, Fawzy

v. Wauquiez Boats SNC, 873 F.3d 451, 455 (4th Cir. 2017) (“Because a properly filed amended

complaint supersedes the original one and becomes the operative complaint in the case, it renders

the original complaint ‘of no effect.’”); Colin v. Marconi Commerce Systems Employees’

Retirement Plan, 335 F.Supp.2d 590, 614 (M.D.N.C. 2004) (“Earlier motions made by Defendants

were filed prior to and have been rendered moot by Plaintiffs’ filing of the Second Amended

Complaint”); Brown v. Sikora and Associates, Inc., 311 Fed.Appx. 568, 572 (4th Cir. Apr. 16,

2008); and Atlantic Skanska, Inc. v. City of Charlotte, 3:07-CV-266-FDW, 2007 WL 3224985 at

*4 (W.D.N.C. Oct. 30, 2007).

       IT IS, THEREFORE, ORDERED that “Defendants May And Lewis’s Partial Motion To

Dismiss...” (Document No. 27) is DENIED AS MOOT.

       SO ORDERED.

                               Signed: November 25, 2024




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